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         EXHIBIT A
Case 1:22-cv-02872-RMB-AMD Document 1-2 Filed 05/17/22 Page 2 of 16 PageID: 11

 LAW OFFICES OF ROBERT I. SEGAL,P.A.                                       DULY                           VED
 ATTORNEY ID:010341977
71 North Main Street                                                       DATE
                                                                           John A. Ke      &tariff
 Medford, NJ 08055
(609)953-1200                                                              BY
 Attorney for Plaintiff(s)
                                                                                  Specrai Eiuputy

 BENJAMIN PIERCE AND DEBBIE                                   SUPERIOR COURT OF NEW JERSEY
 PIERCE                                                       LAW DIVISION
                                                              BURLINGTON COUNTY

                                                              DOCKET NO.: BUR-L-745-22
                                        PLAINTIFFS,
                                                              CIVIL ACTION
                            VS.
 BJ'S WHOLESALE CLUB,INC. AND
                                                                                   SUMMONS
 JOHN DOES I THROUGH XX
                     DEFENDANTS


From The State of New Jersey To The Defendant(s) Named Above: BJ's          Wholesale Club

    The plaintiff, named above, has filed a lawsuit against you in the SUperior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
<htto://www.nicourts.gov/forms/10153 deotyclerklawrefodf›.) If the complaint is one in foreclosure, then you must file
your written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex, P.O. Box
971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case Information
Statement(available from the deputy clerk of the Superior Court) must accompany your answer or motion when it is filed.
You must also send a copy of your answer or motion to plaintiffs attorney whose name and address appear above, or to
plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written answer
or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your defense.

   If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for the
relief plaintiff demands, plus interest and costs of suit. Ifjudgment is entered against you, the Sheriff may seize your money,
wages or property to pay all or part of the judgment.

   If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal Services
of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are not eligible
for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services. A directory
with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil Division
Management Office in the county listed above and online at http://www.nIcourts.gov/forms/10153 deptyclerklawrefpdf.

                                                       /s/ MICHELLE M.SMITH
                                                       Clerk oft e Superior Court
Dated: April 29, 2022
Name of Defendant to Be Serve : BJ's Wholesale Club
Address of Defendant to Be Ser ed: 820 Bear Tavern Road
                                   West Trenton, NJ 08628
                                   Agent: C T Corporation System
    Case 1:22-cv-02872-RMB-AMD Document 1-2 Filed 05/17/22 Page 3 of 16 PageID: 12

ATLANTIC COUNTY:                                                 ESSEX COUNTY:
Deputy Clerk of the Superior Court                               Deputy Clerk of the Superior Court
1201 Bacharach Blvd.                                             465 Dr. Martin Luther King Jr Blvd, Rm 201
Atlantic City, N.J. 08401                                        Newark, NJ 07102
Lawyer referral 609-345-3444 Legal Services 609-348-4200         Lawyer Referral Services 973-622-6204 Legal Services 973-624-4500

BERGEN COUNTY:                                                   GLOUCESTER COUNTY:
Clerk, Superior Court                                            Clerk, Superior Court, ATTN: Intake, 1st Floor
J ustice Center, 10 Main St. Room 115                            1 N. Broad Street
Hackensack, NJ 07601-0769                                        Woodbury, NJ 08096
LAWYER REFERRAL 201-488-0044 LEGAL SERVICES 201-487-2166         Lawyer Referral 856-848-4589 LEGAL SERVICES 856-848-5360

BURLINGTON COUNTY:                                               HUDSON COUNTY
Deputy Clerk of the Superior Court                               Deputy Clerk of the Superior Court
49 Rancocas Road                                                 583 Newark Ave., 1st Floor
Mt. Holly, NJ 08060                                              Jersey City, NJ 07306
LAWYER REFERRAL 609-261-4862 LEGAL SERVICES 800-496-4570         LAWYER REFERRAL 201-798-2727 LEGAL SERVICES 201-792-6363

CAMDEN COUNTY:                                                   HUNTERDON COUNTY:
Clerk Superior Court, Civil                                      Deputy Clerk of the Superior
101 S. Fifth St, Suite 150                                       Civil Division, 65 Park Ave.
Camden, NJ 08103                                                 Flemington, Ni 08862
LAWYER REFERRAL 856-964-4520 LEGAL SERVICES 856-964-2010         LAWYER REFERRAL 908-735-2611 LEGAL SERVICES 908-782-7979

CAPE MAY COUNTY:                                                 MERCER COUNTY:
Central Processing Office                                        Clerk Superior Court, Local Filing Office
9 N. Main St.                                                    175 S. Broad St, PO Box 8068
Cape May Court House, NJ 08210                                   Trenton, NJ 08650
LAWYER REFERRAL 609-463-0313 LEGAL SERVICES 609-465-3001         LAWYER REFFERAL 609-585-6200 LEGAL SERVICES 609-695-6249

CUMBERLAND COUNTY:                                               MIDDLESEX COUNTY:
Clerk Superior Court, Civil Case Management                      Clerk Superior Court
P.O. Box 10                                                      56 Paterson St, PO Box 263
Bridgeton, N.J. 08302                                            New Brunswick, NJ 08903
LAWYER REFERRAL 856-696-5550 LEGAL SERVICES 856-691-0494         LAWYER REGERAL 732-828-0053 LEGAL SERVICES 732-249-7600

MONMOUTH COUNTY:                                                 SOMERSET COUNTY:
Deputy Clerk of the Superior Court                               Clerk Superior Court, Civil
71 Monument Park, P.O. Box 1262                                  P.O. Box 3000
Freehold, NJ 07728-1262                                          Somerville, NJ 08876
Lawyer Referral 732-431-5544       Legal Services 732-866-0020   LAWYER REFERRAL 908-685-2323 LEGAL SERVICES 908-231-0840

MORRIS COUNTY:                                                   SUSSEX COUNTY:
Clerk Superior Court, Civil Division                             Clerk Superior Court, Judicial Center
P.O. Box 910, Washington & Court Sts.                            43-47 High Street
Morristown, NJ 07960-0910                                        Newton, NJ 07860
LAWYER REFERRAL 973-267-5882 LEGAL SERVICES 973-285-6911         LAWYER REFERRAL 973-267-5882 LEGAL SERVICES 973-383-7400

OCEAN COUNTY:                                                    U NION COUNTY:
Deputy Clerk of the Superior Court                               Clerk Superior Court, Court House
118 Washington St Rm 121, P.O. Box 2191                          2 Broad Street, 1st Fl.
Toms River, NJ 08754                                             Elizabeth, NJ 07207
LAWYER REFERRAL 732-240-3666 LEGAL SERVICES 732-341-2727         LAWYER REFERRAL 908-353-4715 LEGAL SERVICES 908-354-4340

PASSAIC COUNTY:                                                  WARREN COUNTY:
Clerk Superior Court, Civil Division                             Clerk Superior Court, Civil
77 Hamilton St.                                                  413 Second Street
Paterson, NJ 07505        ,-                                     Belvidere, NJ 07823-1500
LAWYER REFERRAL 973-278-9223 LEGAL SERVICES 973-345-7171         LAWYER REFERRAL 973-267-5882 LEGAL SERVICES 908-475-2010

SALEM COUNTY:
Deputy Clerk of the Superior Court
92 Market Street
Salem, NJ 08079
LAWYER REFERRAL 856-935-5629 LEGAL SERVICES 856-451-0003
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          Robert I. Segal, Esquire
          Attorney I.D.: 010341977
          W.Robb Graham,Esquire
          Attorney I.D.: 034661983
          ROBERT I. SEGAL,P.A.
          71 North Main Street
          Medford, New Jersey 08055
         (609)953-1200
          Attorneys for Plaintiff, Benjamin Pierce

                                                                       SUPERIOR COURT OF
           BENJAMIN PIERCE AND DEBBIE PIERCE                       •      NEW JERSEY

                                           Plaintiff,                    LAW DIVISION

                                 V.                                BURLINGTON COUNTY

           BJ'S WHOLESALE CLUB,INC. AND                     DOCKET NO.:
           JOHN DOES I-XX                                                CIVIL ACTION
                                          Defendants

                                                               COMPLAINT,JURY DEMAND,
                                                              CERTIFICATION PURSUANT TO
                                                               RULE 4:5-1, DESIGNATION OF
                                                              TRIAL COUNSEL,DEMAND FOR
                                                                 ANSWERS TO UNIFORM
                                                              INTERROGATORIES,DEMAND
                                                                FOR JURY TRIAL,NOTICE
                                                             PURSUANT TO RULE 1:7-1(b) AND
                                                               NOTICE OF OTHER ACTIONS




                 The plaintiffs, Benjamin and Debbie Pierce, residing at 615 West Second Avenue,

          Borough of Palmyra, County of Burlington, State of New Jersey, by way of complaint against

          the defendants, say:




                                              FIRST COUNT
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               1.      On or about April 8, 2021, the plaintiff, Benjamin Pierce, was a guest and/or business

          invitee lawfully on the premises located at 131 East Kings Highway, Township of Maple Shade,

          County ofBurlington, State of New Jersey.

          2.        The defendants, &Fs Wholesale Club, Inc. and/or John Does I, were the owners and

          occupiers and/or possessors of the previously described land/or premises.

               3. At the aforesaid time and place, the plaintiff, Benjamin Pierce, was struck by a shopping

          cart operated by an agent, servant and/or employee of the above noted owners, occupiers and/or

          possessors. Said employee's actions were inattentive, careless and/or negligent. Said employee

          was acting within the scope of his/her authority.

               5. The defendants were legally responsible for the maintenance and conditions on or about

          the previously described land and/or premises.

               6. The defendants aforesaid were negligent and careless in that they caused and permitted

          unsafe, dangerous and hazardous conditions and defects to exist on the land and/or premises,

          failed to warn plaintiff of dangers of which they knew or reasonably should have known,failed

          to maintain the property in a reasonable and prudent manner, were negligent in the design and

          construction of the said property, negligently failed to keep the property in good order, failed to

          detect and/or warn of defective conditions upon the premises, affirmatively created a danger by

          requesting the plaintiff to act in such a way that the plaintiff would be a victim to the said

          dangerous conditions, failed to make the property safe within the scope of the invitation to

          plaintiff and were otherwise negligent and careless all in violation of the duties owed to the

          plaintiff.

               7. Defendants as aforesaid were negligent and careless in the hiring, training and monitoring

          oftheir employees and were otherwise inattentive, careless and negligent.
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             8. As a direct and proximate result of the negligence and carelessness of the defendants

          aforesaid, the plaintiff suffered severe painful bodily injuries, which injuries necessitated him

          obtaining medical treatment, caused him great pain and suffering, incapacitated him from

          pursuing his usual employment and other activities, caused economic loss and caused other

          permanent disabilities that will in the future similarly incapacitate him,cause him great pain and

          suffering, require future medical treatment, and cause future economic losses.

            9. The aforementioned acts and/or omissions constituted willful, wanton and/or grossly

          negligent acts or omissions by or on behalf of said party possessors.

          WHEREFORE,the plaintiff, Benjamin Pierce, demands judgment against the defendants, BJ's

          Wholesale Club, Inc. and/or John Doe I, for damages, counsel fees, interest and costs of suit.

                                                SECOND COUNT

             1. The plaintiffrepeats the allegations ofall previous counts ofthe Complaint in their entirety

          and incorporates same by reference.

             2. The defendants John Doe II through John Doe V are fictitious individuals or entities who

          were the owners or occupiers of the previously described land and/or premises.

             3.   The defendants, John Doe II through John Doe V, were legally responsible for the

          maintenance and conditions on or about the previously described land and/or premises.

             4. The defendants, John Doe II through John Doe V, were negligent and careless in that they

          caused and permitted unsafe, dangerous and hazardous conditions and defects to exist on the land

          and/or premises.

             5. As a direct and proximate result of the negligence and carelessness of the defendants

          aforesaid, the plaintiff was caused to suffer severe personal injury while lawfully on the land

          and/or premises.
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             6. As a direct and proximate result ofthe negligence and carelessness ofthe defendants, John

          Doe II through John Doe V,the plaintiffsuffered the injuries and damages complained of herein.

             WHEREFORE, the plaintiff, Benjamin Pierce, demands judgment against the defendants,

          John Doe II through John Doe V,for damages, counsel fees, interest and costs of suit.


                                                  THIRD COUNT

             1. The.plaintiff repeats the allegations of all previous counts ofthe Complaint in their entirety

          and incorporates same by reference.

             2. The defendants John Doe VI through John Doe X inclusive are fictitious individuals or

          entities who were responsible for the management and maintenance of the previously described

          land and/or premises.

             3. The defendants John Doe VI through John Doe X were negligent and careless in that they

          caused and permitted unsafe, dangerous and hazardous conditions and defects to exist on the land

          and/or premises.

             4. As a direct and proximate result of the negligence and carelessness of the defendants John

          Doe VI through John Doe X, the plaintiff was caused to suffer severe personal injury while

          lawfully on the land and/or premises.

             5. As a direct and proximate result ofthe negligence and carelessness ofthe defendants, John

          Doe VI through John Doe X,the plaintiffsuffered the injuries and damages complained ofherein.

             WHEREFORE,the plaintiff, Benjamin Pierce, demands judgment against the defendants,

          John Doe VI through John Doe X,for damages, counsel fees, interest and costs of suit.



                                                  FOURTH COUNT
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             1. The plaintiffrepeats the allegations ofall previous counts ofthe Complaint in their entirety

          and incorporates same by reference.

             2. The defendants John Doe XI through John Doe XX,inclusive, are fictitious individuals or

          entities who were obligated to or responsible for the construction,inspection, maintenance,repair

          and/or supervision ofthe previously described land and/or premises.

             3. The defendants John Doe XI through John Doe )0C, were negligent and careless in that

          they caused and permitted unsafe, dangerous and hazardous conditions and defects to exist on

          the land and/or premises.

             4. As a direct and proximate result ofthe negligence and carelessness of the defendants John

          Doe XI through John Doe XX,inclusive, the plaintiff was caused to suffer severe personal injury

          while lawfully on the land and/or premises.

             5. As a direct and proximate result ofthe negligence and carelessness ofthe defendants, John

          Doe XI through John Doe XX, the plaintiff suffered the injuries and damages complained of

          herein.

                  WHEREFORE,the plaintiff,Benjamin Pierce, demandsjudgment against the defendants,

          BJ's Wholesale Club, Inc. and/or John Doe I through John Doe XX,for damages, counsel fees,

          interest and costs of suit.

                                                  FIFTH COUNT

             1. The plaintiffs, Benjamin Pierce and Debbie Pierce, at all times mentioned herein were

          married.

             2.     The plaintiff, Debbie Pierce, repeats the allegations of the proceeding counts of the

          Complaint in their entirety and incorporates same by reference.
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              3. As the direct and proximate result of the negligence and carelessness of the defendants

           aforesaid, the plaintiff, Debbie Pierce, have and will in the future be required to provide

          extraordinary services and care and have and will be denied the aid, comfort, companionship,

          society and consortium of plaintiff, Benjamin Pierce.

              WHEREFORE,the plaintiffs, Benjamin and Debbie Pierce, demand judgment against the

           defendant, BJ's Wholesale Club, Inc.

                                                  JURY DEMAND

             The plaintiffs, Benjamin and Debbie Pierce, hereby demand a trial by jury as to all issues.

                                     DESIGNATION OF TRIAL COUNSEL

             Pursuant to N.J.S.A. R.4:25-4, W. Robb Graham, Esquire, is hereby designated as trial

          counsel.

                                         NOTICE OF OTHER ACTIONS

             ROBERT I. SEGAL,ESQUIRE,of full age, hereby certifies as follows:

             1. The matter in controversy is not the subject of any action pending in any Court or of a

          pending Arbitration proceeding.

             2. There are no other known parties who should be joined in the action at this time.

             3.    Pursuant to R.4:21A-1, you are hereby advised that this matter is appropriate for

          Mandatory Arbitration.

                  I certify that the foregoing statements made by me are true. I am aware that if any of the

          foregoing statements made by me are willfully false, I am subject to punishment.
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                                     NOTICE PURSUANT TO RULE 1:7-1(b)

                  Please take notice that, pursuant to New Jersey Court Rule 1:7-1(b), the plaintiff may

           suggest to the trier offact, with respect to any element ofdamages,that unliquidated damages be

           calculated on a time unit basis without reference to a specific sum.


                                                                     ROB TI. SEGAL,P.
                                                                     A i1   YS FO PL            TIFFS


                                                                  BY:
                                                                        OBERT I. E          SQUIRE

           DATED: April 25,2022
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                             Civil Case Information Statement
   [Case Details: BURLINGTON I Civil Partbocket# L-000745-22

     Case Caption: PIERCE BENJAMIN VS BJ'S WHOLESALE                  Case Type: PERSONAL INJURY
     CLUB, INC.                                                       Document Type: Complaint with Jury Demand
     Case Initiation Date: 04/26/2022                                 Jury Demand: YES -6 JURORS
     Attorney Name: ROBERT I SEGAL                                    Is this a professional malpractice case? NO
     Firm Name: ROBERT I SEGAL                                        Related cases pending: NO
     Address: 71 NORTH MAIN STREET                                    If yes, list docket numbers:
     MEDFORD NJ 08055                                                 Do you anticipate adding any parties (arising out of same
     Phone: 6099531200                                                transaction or occurrence)? NO
     Name of Party: PLAINTIFF: Pierce, Benjamin
     Name of Defendant's Primary Insurance Company                    Are sexual abuse claims alleged by: Benjamin Pierce? NO

    (if known): Unknown
                                                                      Are sexual abuse claims alleged by: Debbie Pierce? NO



    r---THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                           CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




     Do parties have a current, past, or recurrent relationship? NO
     If yes, is that relationship:

     Does the statute governing this case provide for payment of fees by the losing party? NO
     Use this space to alert the court to any special case characteristics that may warrant individual
     management or accelerated disposition:



     Do you or your client need any disability accommodations? NO
             If yes, please identify the requested accommodation:



     Will an interpreter be needed? NO
              If yes,for what language:


     Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




     I certify that confidential personal identifiers have been redacted from documents now submitted to the
     court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

     04/26/2022                                                                                            /s/ ROBERT I SEGAL
     Dated                                                                                                              Signed
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         EXHIBIT B
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                                                                                                                             John M. McConnell | Partner
                                                                                                    Direct 609.986.1326 | jmcconnell@goldbergsegalla.com



                                                          May 17, 2022


    BY REGULAR MAIL
    Robert I. Segal, Esq.
    71 North Main Street
    Medford, NJ 08055

                    Re:         Pierce v. BJ’s Wholesale Club, Inc.
                                Docket No.: BUR-L-000745-22
                                GS File No.: 1342.0454

    Dear Mr. Segal,

            Please be advised that we represent Defendant named as BJ’s Wholesale Club, Inc. in this
    case. Enclosed please find a Stipulation to Limit Damages. If your client does not sign and return
    this to me immediately, we will take steps to remove this matter to the Federal Court. Thank you
    very much.

                                                          Sincerely,

                                                          s/ John M. McConnell
                                                          John M. McConnell

    JMM:ks
    Enclosure




                                Please send mail to our scanning center at: PO Box 580, Buffalo NY 14201


OFFICE LOCATION 301 Carnegie Center, Suite 200, Princeton, NJ 08540-6587   |   PHONE 609-986-1300   |   FAX 609-986-1301   | www.goldbergsegalla.com
     CALIFORNIA | CONNECTICUT | FLORIDA | ILLINOIS | NEW JERSEY | NEW YORK | NORTH CAROLINA | MARYLAND | MISSOURI | PENNSYLVANIA
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 John M. McConnell, Esq. [#028152006]
 Goldberg Segalla LLP
 Mailing Center: PO Box 580, Buffalo, NY 14201
 301 Carnegie Center, Suite 200
 Princeton, NJ 08540
 609.986.1300
 609.986.1301 (fax)
 Attorneys for BJ’s Wholesale Club, Inc.

                                                        SUPERIOR COURT OF NEW JERSEY
  BENJAMIN PIERCE AND DEBBIE                            LAW DIVISION
  PIERCE,                                               BURLINGTON COUNTY

                          Plaintiff(s),                 DOCKET NO.: BUR-L-745-22
  v.

  BJ’S WHOLESALE CLUB, INC. AND                         STIPULATION TO LIMIT DAMAGES
  JOHN DOES 1 THROUGH XX,

                          Defendants.



         Plaintiffs Benjamin Pierce and Debbie Pierce (hereinafter referred to as “Plaintiffs”) and

 Defendant BJ’s Wholesale Club, Inc. hereby understand and agree to the following:

               1. Defendant BJ’s Wholesale Club, Inc. has the right, pursuant to 28 U.S.C. § 1441 to

                  remove the above captioned matter to Federal Court;

               2. Defendant BJ’s Wholesale Club, Inc. is willing to forego this right in exchange for

                  the agreement of Plaintiff to limit the damages which Plaintiff is entitled to recover

                  in the above captioned matter, if any; and

               3. In reliance upon the express agreement of Plaintiff and Defendant BJ’s Wholesale

                  Club, Inc. to the limitation of damages set forth herein, Defendant BJ’s Wholesale

                  Club, Inc. will agree not to exercise its right to remove the above captioned matter

                  to the Federal Court.




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         Therefore, on this __________ day of __________ 2022, Plaintiffs and Defendant BJ’s

 Wholesale Club, Inc. hereby stipulate and agree that the full amount and/or value of any and all

 damages (including interest, fees and costs) to which Plaintiffs may be entitled in the above

 captioned matter shall not exceed seventy-five thousand dollars and zero cents ($75,000.00).



 LAW OFFICES OF ROBERT I. SEGAL, P.A.                GOLDBERG SEGALLA, LLP



 ___________________________________                  ________________________________
 ROBERT I. SEGAL, ESQ.                               JOHN M. MCCONNELL, ESQ.
 Attorneys for Plaintiffs Benjamin Pierce and        Attorneys for Defendant BJ’s Wholesale
 Debbie Pierce                                       Club, Inc.

 Date: May__, 2022                                   Date: May __, 2022




                                                2
 33353163.v1
